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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                      JACKSONVILLE DIVISION

CONNEL CROOMS,
                                                                         CASE NO.: 3:18-cv-430-BJD-JRK
                  Plaintiff,

v.                                                              PARTIALLY DISPOSITIVE MOTION

OFFICER C.D. PLAUGHER, individually,
OFFICER B.D. Mc EWAN, individually,
OFFICER B.J. LESTER, individually,
OFFICER F.G. WISE, individually, and
SHERIFF MIKE WILLIAMS, in his official
capacity as sheriff of the City of Jacksonville,
Florida,

            Defendants.
____________________________________/

                     DEFENDANTS WISE, PLAUGHER AND
                McEWAN’S MOTION TO DISMISS COUNT V OF THE
            COMPLAINT WITH PREJUDICE WITH MEMORANDUM OF LAW

         COMES NOW, the Defendants Wise, Plaugher and McEwan (“Officers”), by and

through the undersigned attorney, pursuant to Rule 12(b)(6), Federal Rules of Civil Procedure,

and hereby move to dismiss Count V of the Plaintiff's Complaint (Doc. 1), the claim for First

Amendment Retaliation, with prejudice, for failure to state a claim upon which relief can be

granted. In support therefor, the Officers state:

                                                  Factual Basis

         According to the Complaint,1 a group of thirty to forty individuals gathered on April 4,

2017 at Hemming Plaza in Jacksonville, Florida to protest the United States’ bombing of Syria.


1
  The Officers dispute the facts as alleged in the Complaint but understand that for the purposes of ruling on a
motion to dismiss under Rule 12(b)(6), Fed. R. Civ. Pro., the District Court must accept the complaint’s allegations
as true and construe them in the light most favorable to the plaintiff. Cinotto v. Delta Air Lines Inc., 674 F.3d 1285,
1291 (11th Cir. 2012).
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Doc. 1, ¶¶ 10, 12. Shortly thereafter, a group of counter-protesters arrived, including Gary Snow,

an individual who has engaged in counter-protesting progressive events in Florida and Illinois.

Id. at ¶ 11, 13. Although the protesters and counter-protesters generally remained separate, Snow

walked among the protesters, engaged in disruptive behavior and acted as a general nuisance. Id.

at ¶ 14-15. When Crooms arrived to join the protesters, he stood on a small stage and addressed

the crowd, criticizing the Jacksonville Sheriff’s Office’s treatment of African-Americans and

shouted, “fuck the police.” Id. at ¶ 16-17. The Complaint alleges that in response to the Crooms’

statements, a random officer stated to other officers, "I'm gonna deck that guy in the face before

the night is over." Id. at ¶ 18.

        The Complaint continues by describing the confrontation between Snow, who stepped on

stage and interrupted Crooms’ speech, and another protester, and ultimately Crooms himself. Id.

at ¶¶ 19-22. When Crooms saw Snow walk toward Crooms’ friend, a fellow protester, Crooms

ran and placed himself in front of Snow. Id. at ¶¶ 23-24. At that point, Plaugher stepped between

Crooms and Snow, but Snow reached over Plaugher's shoulder, “pushing his hand in [Crooms’]

face and sticking out his middle finger.” Id. at ¶¶ 24-25. The Complaint then describes Plaugher,

McEwan, and Jester grabbing Crooms “from behind,” and “proceed[ing] to throw [Crooms] to

the ground, and beat him.” Id. at ¶¶ 27-30. The Complaint also describes how Snow filmed the

interactions between Crooms and the Defendant Officers. Id. at ¶ 39.

                                           Argument

        The federal claim for First Amendment Retaliation against the Officer Defendants, under

42 U.S.C. § 1983, is due to be dismissed because the Officers violated no rights guaranteed to

Crooms under the United States Constitution. There is no dispute that Crooms enjoyed rights

under the First Amendment to peacefully attend a protest rally, speak in opposition to

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government policies in the Middle East and publicly speak disparagingly about police officers, as

long as his words did not incite violence. However, even construing the facts as alleged by

Crooms in the light most favorable to him, the use of force against him and his ultimate arrest

cannot be construed as being caused or motivated by his speech. Without identifying a causal

link between the adverse conduct, the use of force and his arrest, and his protected speech,

Crooms fails to state a cause of action for First Amendment Retaliation. Without alleging a

constitutional violation, the Officer Defendants are protected by qualified immunity from claims

brought against them individually.

I.     Motion to Dismiss Standard

       Rule 8 of the Federal Rules of Civil Procedure requires a “short and plain statement of

the claim” that will “give the Defendant fair notice of what the Plaintiff's claim is and the

grounds upon which it rests.” Conley v. Gibson, 355 U.S. 41, 47 (1957) (quoting Rule 8(a)(2),

Fed. R. Civ. P.). To survive a motion to dismiss, a complaint must contain sufficient facts,

accepted as true, to state a claim for relief that is plausible on its face. Ashcroft v. Iqbal, 556

U.S. 662 (2009). Pursuant to the traditional view, the District Court may only grant a Rule

12(b)(6) motion to dismiss where it has been demonstrated "beyond doubt that the plaintiff can

prove no set of facts in support of his claim to relief. Conley, 355 U.S. at 45-46. However, the

Supreme Court has since fine-tuned the standard to reflect that the dismissal standard was one of

plausibility under which a complaint must contain enough facts to state a claim that raises the

"right to relief above the speculative level," or it will be dismissed. Bell Atlantic Corp. v.

Twombly, 550 U.S. 544 (2007).

       In Iqbal, the Court further elaborated on its opinion in Twombly, succinctly stating:



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       Two working principles underlie our decision in Twombly. First, the tenet that a
       court must accept as true all of the allegations contained in a complaint is
       inapplicable to legal conclusions. Threadbare recitals of the elements of a cause
       of action, supported by mere conclusory statements, do not suffice. * * * Rule 8
       marks a notable and generous departure from the hyper-technical, code-pleading
       regime of a prior era, but it does not unlock the doors of discovery for a plaintiff
       armed with nothing more than conclusions. Second, only a complaint that states a
       plausible claim for relief survives a motion to dismiss. Determining whether a
       complaint states a plausible claim for relief [is] ... a context-specific task that
       requires the reviewing court to draw on its judicial experience and common sense.
       But where the facts do not permit the court to infer more than the mere possibility
       of misconduct, the complaint has alleged-but it has not "show[n]"-"that the
       pleader is entitled to relief." Fed. Rule Civ. Proc. 8(a)(2).


Iqbal, 556 U.S. at 678 (internal citations omitted). The Court explained that the plausibility

standard “is not akin to a ‘probability requirement,’ but it asks for more than a sheer possibility

that a defendant has acted unlawfully.” Id. If the factual basis for a complaint is “merely

consistent with a defendant's liability, it stops short of the line between possibility and

plausibility of ‘entitlement to relief.” Id. Accordingly, “bare assertions” that “amount to nothing

more than a formulaic recitation of the elements” of a claim, should be rejected as “conclusory

and [are] not entitled to be assumed true.” Id. at 679 (internal citations and quotations omitted);

see also, S.D. v. St. Johns County School Dist., 22 Fla. L.Weekly Fed. D7, 2009 WL 2381287

*1-2 (M.D.Fla.).

       Although the threshold is “exceedingly low” for a complaint to survive a motion to

dismiss for failure to state a claim, a court may nonetheless dismiss a complaint on a dispositive

issue of law. Day v. Taylor, 400 F. 3d 1272, 1275 (11th Cir. 2005). Additionally, where the facts

alleged are conclusory allegations, unwarranted factual deductions or legal conclusions

masquerading as facts, the complaint may be subject to dismissal. Davila v. Delta Airlines, Inc.,

326 F. 3d 1183 (11th Cir. 2003). Dismissal is warranted if, assuming the truth of the factual


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allegations of the plaintiff's Complaint, there is a dispositive legal issue that precludes relief. See

Neitzke v. Williams, 490 U.S. 319, 326 (1989).

II.    Qualified Immunity Generally

       Although the Officer Defendants do not concede the allegations in the Complaint to be

the actual facts, when ruling on a motion to dismiss under Federal Rule of Civil Procedure

12(b)(6), a court must limit its consideration to the complaint, the written instruments attached to

it as exhibits, “documents incorporated into the complaint by reference, and matters of which a

court may take judicial notice.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 323

(2007). In determining the merits of the motion, a court must “accept all factual allegations in the

complaint as true.” Id. at 323. However, a complaint may “be dismissed under Rule 12(b)(6)

when its own allegations indicate the existence of an affirmative defense, so long as the defense

clearly appears on the face of the complaint.” Quiller v. Barclays American/Credit, Inc., 727

F.2d 1067, 1069 (11th Cir. 1984).

       A public official performing a discretionary function enjoys qualified immunity in a civil

action for damages provided his or her conduct does not violate clearly established federal or

constitutional rights of which a reasonable person should have known. Harlow v. Fitzgerald,

457 U.S. 800, 818 (1982). The immunity is “immunity from suit, rather than a mere defense to

liability” and it is “effectively lost if a case is erroneously permitted to go to trial.” Mitchell v.

Forsythe, 472 U.S. 511, 526 (1985). The Supreme Court of the United States has rejected the

argument that qualified immunity cannot be granted before discovery and stated that “qualified

immunity questions should be resolved at the earliest possible stage of litigation.” Anderson v.

Creighton, 483 U.S. 635 (1987). The driving force behind the creation of the qualified immunity



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doctrine was a desire to ensure that “insubstantial claims against government officials [will] be

resolved prior to discovery.” Id.at 640, n. 2.

       When a trial court must determine whether a defendant may benefit from qualified

immunity, the Supreme Court has in the past mandated that the trial court must first determine

whether the defendant’s conduct violated a constitutional right. Saucier v. Katz, 533 U.S. 194

(2001). Once that has been determined, only then does the analysis take the next step to

determine whether the defendant violated clearly established law at the time of the alleged

misconduct. Id. The Supreme Court, however, reconsidered this rigid approach and concluded

that “while the sequence set forth [in Saucier] is often appropriate, it should no longer be

regarded as mandatory.” Pearson v. Callahan, 555 U.S. 223 (2009). Lower courts are permitted

to exercise their discretion in deciding which of the two prongs of the qualified immunity

analysis should be addressed first in light of the circumstances of the particular case at hand. Id.

III.   Count V Does Not Establish a Constitutional Violation

       As a threshold matter, the Officers were acting within their discretionary authority at the

time of the events in question. Thus, to overcome their entitlement to qualified immunity,

Crooms must allege that the Officers violated constitutional rights of which a reasonable person

should have known. Vinyard v. Wilson, 311 F.3d 1340, 1346 (11th Cir.2002).

       To state a retaliation claim in the Eleventh Circuit, a plaintiff must establish first, that his

speech or act was constitutionally protected; second, that the defendant’s retaliatory conduct

adversely affected the protected speech; and third, that there is a causal connection between the

retaliatory actions and the adverse effect on speech. Bennett v. Hendrix, 423 F. 3d 1247, 1250

(11th Cir. 2005). In regard to the second element, a plaintiff suffers adverse action if the

defendant’s allegedly retaliatory conduct would likely deter a person of ordinary firmness from

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the exercise of First Amendment rights. Id. at 1254. In order to establish the third element, the

causal connection, the plaintiff must allege and show that the defendant was subjectively

motivated to take the adverse action because of the protected speech. Castle v. Appalachian

Tech. Coll., 631 F.3d 1194, 1197 (11th Cir. 2011). The plaintiff must show that the defendant had

“actual knowledge of the plaintiffs’ protected speech, which can be established by circumstantial

evidence.” Wall-DeSousa v. Fla. Dep't of Highway Safety & Motor Vehicles, 691 F. App'x 584,

591 (11th Cir. 2017). Crooms cannot show the Officers had actual knowledge of his speech.

           Crooms’ Complaint speaks volumes as much for what is left out of the facts, as for what

was placed in. The Complaint does not state, nor does it attach any documents or written

instruments that would state in clear terms, whether the Officers actually heard Crooms making

his speech. The Officers’ proximity to the stage while Crooms was speaking is not explained,

and the only reference to any police officer hearing Crooms is at paragraph 18, where it states,

“several onlookers at the Protest overheard a JSO officer at the scene tell his colleagues, ‘I’m

gonna deck that guy in the face before the night is over.’” The Complaint does not identify who

heard the statement, who the officer was making the statement, or who the “colleagues” were.

We must assume that none of the Officers made the statement or were among the “colleagues,”

or Crooms would have so alleged.

           Crooms attempts to establish the Officers’ knowledge of his speech through

circumstantial evidence of the Officers’ lack of enforcement against Snow for Snow’s activities,

but the facts are not sufficient. There is no indication that the information about Snow’s history

of counter-protesting2 was known to the Officers at the time and being a nuisance at a protest

(taunting protesters, recording protesters with a cell phone, etc…) is not a violation of the law.

2
    Complaint, paragraph 13.

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Moreover, Crooms’ description of the events between Snow interrupting his speech and his

altercation with the Officers, fails to describe any facts that would indicate the Officers heard or

acknowledged Crooms’ speech. Paragraphs 27 and 38 refer to the “violence” of that day,

including a reference to a “fight” having been instigated by Snow in paragraph 38, however the

details of Crooms’ and the protesters’ actions that resulted in their arrests are glaringly absent

from the Complaint.

           Crooms asserts at paragraph 74 that his derogatory comments about the Jacksonville

Sheriff’s Office “directly caused [the Officers’] conduct,” however the Complaint is devoid of

any direct evidence. The reader is left to speculate or assume that, 1) the Officers must have

heard the comments; 2) the Officers were offended by the comments; and 3) Plaugher and

McEwan were motivated to use physical force in the absence of any objectively reasonable

purpose, based on the comments. Such speculation is improper under the law. Crooms is

required under Rule 8 to draft a complaint that contains enough facts to state a claim that raises

the “right to relief above the speculative level.” Twombly, 550 U.S. at 555. With the references to

violence and fighting, one could just as easily speculate that the Officers were taking action to

quell a disturbance and used the force necessary to stop an escalating situation. The Eleventh

Circuit has described circumstantial evidence as evidence of “other facts and circumstances from

which the jury may infer that the fact being asserted does or does not exist.” United States v.

Henderson, 693 F.2d 1028, 1031 (11th Cir. 1982). Crooms is presuming the Officers’ subjective

motivation at that moment entirely from the absence of law enforcement action against Snow.

           More specifically, Crooms’ claim for First Amendment Retaliation against Wise is based

on the fact that Wise was the arresting officer.3 Crooms has not accused Wise of using any force

3
    See Complaint, ¶ 73, “Defendant Wise retaliated against Plaintiff by arresting him[.]”

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against him, but neither has he leveled a claim for false arrest against Wise. For such a retaliation

claim to stand, the retaliatory arrest must have been made without actual probable cause, or even

arguable probable cause. In the Eleventh Circuit, arguable probable cause to arrest defeats not

only Fourth Amendment claims for false arrest, but also First Amendment claims stemming from

the arrest. Gates v. Khokhar, 884 F.3d 1290, 1298 (11th Cir. 2018). The Complaint lacks facts

supporting a retaliatory arrest for Crooms’ speech and is devoid of allegations specifically

supporting a claim for false arrest.

                                            Conclusion

       The Officers conducted themselves professionally in a dangerous and dynamic situation.

Crooms has not alleged facts that would support retaliatory motive to show causation, because

none exist, circumstantial or otherwise. As Crooms has not sufficiently alleged all of the

elements of a claim for First Amendment Retaliation, there is no constitutional violation apparent

within the four corners of the complaint, and the Officers are entitled to qualified immunity.

       WHEREFORE, the Officers respectfully move this Honorable Court to dismiss Count V

of the Complaint.

                                       Respectfully submitted,
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                                              Paul A. Daragjati
                                              Counsel for Defendants

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on Tuesday, May 08, 2018, I electronically filed the foregoing
with the Clerk of Court by using the CM/ECF system. I further certify that I mailed the
foregoing document and the notice of electronic filing by first-class mail to the following non-
CM/ECF participants: N/A.



                                            /s/ Paul A. Daragjati
                                            Counsel for Defendants




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